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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


LANA SUE HANSON, RICHARD A. HANSON,
JANE WILJAMAA, ALAN WILJAMAA,
on their own behalves and on behalf of a class of
similarly situated participants and beneficiaries, and
JAMES ENGLAND, DEBRA M. ENGLAND,
GERALD B. MANNINEN, RITA P. MANNINEN,
MICHAEL MURPHY, PAMELA S. MURPHY,
PHYLLIS SODERBERG, ROBERT SODERBERG,
KENNETH STUHR AND CONSUELO STUHR,

                    Plaintiffs,
                                                              CLASS ACTION
                                                               COMPLAINT
              -against-

GENERAL DYNAMICS CORPORATION,
GENERAL DYNAMICS SALARIED
RETIREMENT PLAN; GENERAL
DYNAMICS CORPORATION
RETIREMENT PLAN; ALIGHT
SOLUTIONS (FORMERLY KNOWN AS
HEWITT ASSOCIATES LLC),

                     Defendants.


                                        I.
                                  INTRODUCTION

1.     This is principally an action pursuant to the Employee Retirement Income

Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq., in which

Plaintiffs, on their own behalf and on behalf of a class of similarly situated

participants and beneficiaries, contest a retirement plan’s actions to reduce
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Plaintiff’s future benefits under the plan to remedy a mistake the plan and its

agents allegedly made in calculating their plan benefits. The plan first reduced

benefits to the “correct” amount and then further reduced benefits to recoup the

overpayments made before the plan discovered and corrected its error, which in

the case of some of the Plaintiffs, was more than a decade after benefits

commenced.

2.     At the time of retirement, the participants were each, in accordance with the

plan, permitted to elect among a menu of benefit options, in lieu of the “normal

benefit” option, which was a life annuity with a 50% survivor annuity for the

spouse. One of the benefit options was described in 2002 and 2019 summary plan

descriptions as the “Level Income Option” and in Pension Calculation Statements

as the “and other documents as the “100% Contingent Annuity with Leveling at

Age 62” option (hereinafter referred to as the “Leveling Option”), which provided

an electing participant with an enhanced benefit until age 62, when the participant

became eligible for Social Security, at which point the benefit was reduced. The

reduced benefit would be paid for the life of the participant and continue to be

paid during the lifetime of the spouse if he or she survived the participant.

General Dynamics, in accordance with ERISA, required that an electing

participant’s spouse provide a written consent to this election, witnessed by either

a notary public or a plan official. To help participants and their spouses decide

which option to select, General Dynamics, in accordance with IRS regulations,

provided each participant with a “Relative Values Notice,” which indicated that
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the Leveling Option was worth approximately between 120% and 128% of the

other available benefit options. Each of the Plaintiff Participants, with the consent

of his or her spouse, elected this option.1

3.     General Dynamics has now reduced the benefits of the plan to rectify

General Dynamics’ error. None of the participants were responsible for the error.

The benefit reductions for the participants, who are now in their 70s, are

substantial, in some cases (including reductions to recover overpayments)

exceeding 40%.

4.     The Plaintiffs contend, inter alia, that the Defendant Plan and Defendant

General Dynamics committed various fiduciary and other violations under Federal

law that (i) estop them from reducing benefits; (ii) require reformation of the plan

such that future benefit payments are conformed to the benefit representations

made and relied upon by the Plaintiffs at the time of their retirement; (iii) estop

them from recouping overpayments, and/or (iv) obligate them to reimburse the

plan and Plaintiffs for the losses they suffered because of Defendant’s unlawful

actions. The action also seeks relief against Defendant Alight for violations of

ERISA and alternatively under state law for professional negligence and

misrepresentations to the Plaintiffs.

                                     II.
                          JURISDICTION AND VENUE


1
  The plan had different benefit formulas for periods before January 1, 2007, and after
that date. This Complaint only addresses the benefit payable for service before January
1, 2007.
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5.     Subject Matter Jurisdiction. This Court has subject matter jurisdiction

over Plaintiff’s federal claims pursuant to 28 U.S.C. § 1331 and ERISA §

502(e)(1), 29 U.S.C. 1132(e)(1). Subject matter jurisdiction over Plaintiff’s state

law claims exist under 28 U.S.C. § 1332, the matter in controversy being between

citizens of different states and the amount at issue being in excess of $75,000, as

well as supplemental jurisdiction under 28 U.S.C. § 1367.

6.     Personal Jurisdiction: ERISA provides for nationwide service of process.

ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2). All of the defendants are either

residents of the United States or subject to service in the United States and this

Court therefore has personal jurisdiction over them.

7.     Venue. Venue is proper in this district both because much of the conduct

that is the subject of this lawsuit occurred within this district and also because a

defendant can be found in this district.

                                      III.
                                  THE PARTIES

Plaintiffs

8.     Plaintiff James England is a retired employee of General Dynamics, who is

currently receiving monthly retirement benefits from the General Dynamics

Salaried Retirement Plan. Plaintiff is a citizen of the state of Wisconsin.

9.     Plaintiff Debra M. England is James England’s spouse. She is a beneficiary

under the General Dynamics Salaried Retirement Plan who will receive a spousal

survivor benefit if she survives James. General Dynamics, as required by ERISA,
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required her to provide a notarized consent to the benefit option that James elected

to receive. Plaintiff is a citizen of the state of Wisconsin.

10.    Lana Sue Hanson is a retired employee of General Dynamics, who is

currently receiving monthly retirement benefits from the General Dynamics

Salaried Retirement Plan. Plaintiff is a citizen of the state of Minnesota.

11.    Richard A. Hanson is Lana Hanson’s spouse. He is a beneficiary under the

General Dynamics Salaried Retirement Plan who will receive a spousal survivor

benefit if he survives Lana. General Dynamics, as required by ERISA, required

Richard to provide a notarized consent to the benefit option that Lana elected to

receive. Plaintiff is a citizen of the state of Minnesota.

12.    Gerald B. Manninen is a retired employee of General Dynamics, who is

currently receiving monthly retirement benefits from the General Dynamics

Salaried Retirement Plan. Plaintiff is a citizen of the state of Minnesota.

13.    Rita P. Manninen is Gerald Manninen’s spouse. She is a beneficiary under

the General Dynamics Salaried Retirement Plan who will receive a spousal

survivor benefit if she survives Gerald. General Dynamics, as required by

ERISA, required her to provide a notarized consent to the benefit option that

Gerald elected to receive. Plaintiff is a citizen of the state of Minnesota.

14.    Michael Murphy is a retired employee of General Dynamics, who is

currently receiving monthly retirement benefits from the General Dynamics

Salaried Retirement Plan. Plaintiff is a citizen of the state of Minnesota.
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15.    Pamela S. Murphy is Michael Murphy’s spouse. She is a beneficiary under

the General Dynamics Salaried Retirement Plan who will receive a spousal

survivor benefit if she survives Michael. General Dynamics, as required by

ERISA, required her to provide a notarized consent to the benefit option that

Michael elected to receive. Plaintiff is a citizen of the state of Minnesota.

16.    Phyllis Soderberg is a retired employee of General Dynamics, who is

currently receiving monthly retirement benefits from the General Dynamics

Salaried Retirement Plan. Plaintiff is a citizen of the state of Wisconsin.

17.    Robert Soderberg is Phyllis Soderberg’s spouse. He is a beneficiary under

the General Dynamics Salaried Retirement Plan who will receive a spousal

survivor benefit if he survives Phyllis. General Dynamics, as required by ERISA,

required Robert to provide a notarized consent to the benefit option that Phyllis

elected to receive. Plaintiff is a citizen of the state of Wisconsin.

18.    Kenneth Stuhr is a retired employee of General Dynamics, who is currently

receiving monthly retirement benefits from the General Dynamics Salaried

Retirement Plan. Plaintiff is a citizen of the state of Arizona.

19.    Consuelo Stuhr is Kenneth Stuhr’s spouse. She is a beneficiary under the

General Dynamics Salaried Retirement Plan who will receive a spousal survivor

benefit if she survives Kenneth. General Dynamics, as required by ERISA,

required her to provide a notarized consent to the benefit option that Kenneth

elected to receive. Plaintiff is a citizen of the state of Arizona.
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20. Jane Wiljamaa is a retired employee of General Dynamics, who is currently

receiving monthly retirement benefits from the General Dynamics Salaried

Retirement Plan. Plaintiff is a citizen of the state of Minnesota.

21. Alan Wiljamaa is Jane’s spouse. He is a beneficiary under the General

Dynamics Salaried Retirement Plan who will receive a spousal survivor benefit if

he survives Jane. General Dynamics, as required by ERISA, required him to

provide a notarized consent to the benefit option that Jane elected to receive.

Plaintiff is a citizen of the state of Minnesota.

Defendants

22.    Defendant General Dynamics Salaried Retirement Plan (or General

Dynamics Salaried Retirement Plan – GDIS Legacy Employees), which appears to

be a component retirement plan of Defendant General Dynamics Corporation

Retirement Plan, or General Dynamics Retirement Plan (Government) is a

retirement plan or plans sponsored by General Dynamics Corporation for its

salaried employees. (The plan or plans shall sometimes be referred to in this

Complaint as the “Plan.”) Participant Plaintiffs began participation in the Plan

while employees of General Dynamics and are now receiving monthly annuity

benefit from the Plan.

23.    Defendant General Dynamics Corporation Retirement Plan (and/or General

Dynamics Corporation Retirement Plan (Government) is a retirement plan

sponsored by General Dynamics Corporation for its employees. (See Paragraph

22. above.)
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24.    Defendant General Dynamics Corporation is a Delaware Corporation with

a principal place of business at 11011 Sunset Hills Road, Reston, Virginia.

(General Dynamics Corporation will sometimes be referred to in this complaint as

“General Dynamics.”) General Dynamics is the sponsor of the Plan. The Plan

also identifies General Dynamics Corporation as the Plan Administrator and its

Name Fiduciary. General Dynamics is a fiduciary of the Plan pursuant to ERISA

§ 3(21)(A), 29 U.S.C. § 1002(21)(A).

25.    Defendant Alight is an Illinois limited liability company with its principal

place of business at 4 Overlook Point, Lincolnshire, Illinois. On information and

belief, at the time that Participant Plaintiffs began considering retirement and

when they filed their retirement benefit election forms, Alight’s predecessor,

Hewitt Associates LLC, provided various recordkeeping and actuarial services to

the plan.   Hewitt/Alight was a fiduciary pursuant to ERISA § 3(21)(A), 29

U.S.C. § 1002(21)(A). (This Complaint refers to the defendant Alight as Alight,

Hewitt/Alight, or Hewitt, as appropriate to the context.)

                                        IV.
                                       FACTS

26.     Participant Plaintiffs began working for a division of Control Data

Corporation, which Defendant General Dynamics acquired sometime in 1997, at

which point they became employees of General Dynamics. On information and

belief, the Control Data pension plan, or that part of it that covered Participants,

was acquired by General Dynamics and became part of the General Dynamics
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Retirement Plan. The Plaintiff Participants became participants in the Plan and

continue to participate in the plan as of the date of this Complaint. Each of the

Participants received service credit for their combined service for Control Data

Corporation and General Dynamics.

27.     Each of the Participants requested an application for pension benefits

before attaining age 62.

28.     General Dynamics provided each Participant a Benefit Calculation

Statement and an application for benefits. These documents listed a number of

benefit options, including a life annuity for the participant with a 50% survivor

annuity for the spouse, which is the normal form of benefit for a married

retirement plan participant under ERISA. One of the alternative benefits open to a

participant who retired before age 62 was the Leveling Option. This benefit

provided an enhanced benefit through age 62, with a reduction upon attaining that

age, which reflected the ability of the participant to apply for Social Security

benefits to replace the reduction at age 62. The benefit, as adjusted at age 62,

would continue without further reduction for the life of the participant and the

participant’s spouse if the spouse survived the participant. On information and

belief, Hewitt Associates prepared the benefit calculations for each payment

option offered to Participant Plaintiffs and prepared the Benefit Calculation

Statement.

29.     In addition to providing the participants with a description of their benefit

options, the Plan also provided, as required by Treasury Regulations, a Relative
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Values Notice, which compared the value of the various benefits options to help

participants and their spouses with their decision. These Notice represented that

the relative value of the Leveling Option was substantially more valuable than

other “full” benefits under the Plan. (The Relative Values Notices for Michael

Murphy, Gerald Manninen, and James England, shows that the benefit option had

a value of 120%, 122% and 128% of other benefit options.2) Each of the

participants, with the notarized consent of their spouse, chose to retire before age

62 and to select this “most valuable” benefit option. On information and belief,

Hewitt Associates prepared the Relative Values Notices.

30.     The plan began paying benefits to each of the Participants in accordance

with the description of the benefit option’s monthly benefit until the Participant

attained age 62. In accordance with the terms of the option, the amount of the

benefit was reduced when each participant attained age 62 and would continue at

the reduced rate during the joint lives of each participant and spouse.

31.     On June 13, 2019, the Plan sent each Participant a one-page letter that said,

in relevant part, “During a recent review of your benefit payments, it was

determined that your final benefit was overstated. This overstatement occurred

because of an error in the calculation of the amount payable under the 100%

Contingent Annuity Level Income Option to age 62 that you chose for the GDIS



2
 The other Plaintiffs have not retained their Notices, but on information and belief, they
would have been similar. The percentage differences would have reflected individual
factors, such as age of participant and spouse at retirement.
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Legacy Total benefit source at the time of your retirement.” The letter indicated

that the participant’s benefit would be reduced as of July 1, 2019. The letter also

indicated that because of the plan’s failure to correct the error up to that point, that

the participant had been overpaid and that the plan would send a second letter with

additional details regarding options for repaying the overpaid amount. The letter

also told each Participant that “We apologize for any inconvenience caused by this

change to your benefit.”

32.    The plan followed the July 2019 letter with a second letter, which informed

Participants that they had two options: to send the plan a “certified check, money

order or personal check,” in the amount of his or her overpayment or the Plan

would permanently reduce future benefits payable during the life of the Participant

to collect the overpayment.

33.    Each Participant Plaintiff appealed the Plan’s decision to reduce his or her

benefit and to collect reimbursement. The appeals claimed that the plan failed to

provide adequate detail on the plan’s original benefit calculation and that the plan

should be estopped from reducing the plan benefits because the error was the fault

of the Plan and that the Plan should recover the overpayments from either General

Dynamics (by continuing to fund the plan at current levels) or the plan’s

actuary/record-keeper who made the error. The Plan and General Dynamics sent

each Participant a denial letter.

34.    In rejecting the appeals, the Plan wrote that “the Plan “authorizes and

requires the Administrator to adjust” miscalculated benefits and rejected without
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any discussion arguments that the Plan should be estopped from reducing benefits.

The Plan indicated that the participants had no right to rely on an expectation that

the Plan correctly calculated the benefit, writing in some letters that “a change in

expectation does not itself represent a financial hardship.”

35.    The Plan did not indicate why it had not sought to recover its “loss” from

either the record-keeper/actuary who made the error or from General Dynamics,

the plan sponsor as well as the Plan Administrator and Named Fiduciary, and

which, among other failures, apparently failed to identify the error for a period of

more than a decade, even as the Plan as the plan was representing to Plaintiffs

(through its Relative Value Notices) that the option ultimately elected was the

most valuable option to them.

36.    The following chart indicates for each Participant the monthly benefit they

were told they would be paid until attaining age 62, the corrected pre-62 benefit,

the monthly benefit they were told that they and their spouses would be paid after

the participant attained age 62, the “corrected” post-62 benefit, and, if applicable,

the “corrected” benefit with a further reduction for the life of the Participant to

collect the Plan’s overpayments.
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 Participant    Original     Corrected Original       Corrected    Corrected
 Plaintiff      Pre-62       Pre-62    Post-62        Post-62      Post-62
                Monthly      Monthly Monthly          Monthly      Benefit With
                Benefit      Benefit   Benefit        Benefit      Overpayment
                                                                   Recoupment
                                                                    During
                                                                   Participant’s
                                                                   Life
 England        $5,926.83 $5,153.05 $4,280.83         $3,507.05    *

 Hanson         $1,655.80 $1,666.25 $1,059.74         $719.25      $469.25**

 Manninen       $4,103.49 $3,594.06 $2,713.49         $2,204.06    $1,610.61

 Murphy         $6,660.91 $6,029.70 $5,014.94         $4,383.70    $4,159.29

 Soderberg      $6,217.23 $5,589.88 $4565.23          $3,937.88    ***

 Stuhr          $5,449.99 $5,039.93 $3,846.99         $3,436.93    $3,247.72

 Wiljamaa       $5,044.27 $4,565.23 $3,398.27         $2,916.27    $2,758.51

*        James England paid the plan the “overpayment” in a lump sum of $78,925.56

**       Lana Sue Hanson paid the plan $6,675.89 and the plan reduced her benefit by
         $250 per month during an 80-month period.

***      Information not available at the time the Complaint was filed.

Note that figures include the benefits earned prior to 2007 and the benefits earned
beginning in 2007.

                                       V.
                               CLASS ALLEGATIONS

37.      Lana Sue Hanson, Richard A. Hanson, Jane Wiljamaa, and Alan Wiljamaa

bring this action on behalf of themselves and all others similarly situated as a class

action pursuant to Federal Rule of Civil Procedure 23(b)(1) and (2).

38.      The Class is defined as all General Dynamics Plan participants who elected

to take their benefits in the form of the Leveling Option and whose benefit has
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now been reduced because of an alleged overpayment; and the spouse of each

such participant.

39.    Plaintiffs reserve the right to modify the definition of the proposed class

based on information that they or their counsel learn through discovery.

40.    The proposed class meets all the requirements of Federal Rule of Civil

Procedure 23, as follows:

41.    Upon information and belief, the Class is sufficiently numerous that joinder

of all persons in the class is impracticable. It is not clear from the plan documents

furnished by the Plan whether the benefit option was available only to members of

the division in which Participants were employed or whether it was available

generally to all participants, or to some subset. On information and belief, the

division employed 1,000 or more employees and because the benefit option was

represented as the most valuable benefit by Defendants, and on information and

belief, was considered the most valuable by employees in the division, Plaintiffs

believe that there are at least several dozens individuals who retired from the

division who selected the Leveling Option and spouses who consented to the

election. If the benefit option were more broadly available to participants in the

Plan, Plaintiffs believe there may be in excess of 1,000 participants who selected

the option. Plaintiffs thus believe that that there are a substantial number of

participants and beneficiaries who are putative members of the class. Numerosity

of the class will be ascertained and confirmed by discovery. The number and
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identity of the members of the class are readily determinable from the Defendants’

records.

42.     There are common questions of law and fact affecting the rights of the

members of the Class, including, without limitation:

        a. Whether defendants breached their fiduciary or other duties in providing

documents to Participants that incorrectly valued the benefit option selected by or

consented to by members of the class, including the Pension Calculation

Statements and the Relative Values Notices;

        b. Whether Defendant General Dynamics breached its fiduciary obligations

in failing to adequately monitor the performance of Hewitt/Alight and failing to

identify and remedy the miscalculation for a period of more than a decade;

        c. Whether Plaintiffs and the Class are entitled to equitable relief from

Defendants’ violations of ERISA §§ 404(a), and/or 406;

        d. Whether Defendant Alight was acting in a fiduciary capacity when it

prepared inaccurate and materially misleading Pension Calculation Statements and

the Relative Values Notices;

        e. Whether, if Defendant Alight was not acting in a fiduciary capacity, it

acted negligently or violated other duties owed to Plaintiffs under applicable state

law;

        f. Whether defendant General Dynamics violated its fiduciary duties and/or

engaged in a prohibited transaction when it chose to have the Plan use self-help

recoupment methods rather than seek to recover the plan losses either by having
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General Dynamics continue to fund the plan on the basis of the miscalculated

benefits or by recovering plan losses from Hewitt/Alight, which on information

and belief prepared the erroneous calculations;

       g. Whether General Dynamics “self-help” recoupment activities, in which

it began recovering or threatening to recover the ultra virus transfer of plan assets

to Participants by reducing the Participant’s future plan benefits, violates ERISA §

206(d)(1) and I.R.C. § 401(a)(13), which provides that benefits may not be

assigned or alienated;

       (h) Whether 26 C.F.R. § 1.401(a)-13 is ultra vires.

43.    The claims of the named class representatives are typical of the claims of

the proposed Class. Plaintiffs and all members of the proposed Class sustained the

same or similar injuries resulting from Defendants’ common course of conduct in

violation of applicable Federal and State law. Plaintiffs claims are thereby

representative of, and co-extensive with, the claims of the proposed Class

members.

44.     The named representatives will fairly and adequately protect the interests

of the proposed class. There are no conflicts between the interests of the named

Plaintiffs and the other members of the proposed class.

45.    This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(1)

because prosecuting separate actions by individual class members would create a

risk of (A) inconsistent or varying adjudications with respect to individual class

members that would establish incompatible standards of conduct for the party
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opposing the class, or (B) adjudications with respect to individual class members

that, as a practical matter, would be dispositive of the interests of the other

members not parties to the individual adjudications or would substantially impair

or impede their ability to protect their interests. Specifically, separate actions by

individual class members could produce varying adjudications as to, inter alia,

whether Defendants acted in a fiduciary capacity in providing inaccurate pension

benefit statements and relative values notices to Plaintiffs and class members,

whether General Dynamics should be estopped to deny that Plaintiffs and class

members are entitled to the miscalculated benefits, and whether other equitable

relief is available for Defendants’ ERISA violations.

46.    This action is maintainable as a class action under Rule 23(b)(2) because

Defendants have acted and/or refused to act on grounds generally applicable to the

Class, thereby making appropriate monetary, injunctive and other equitable relief

in favor of the Class. In particular, Defendants miscalculation of the pension

option selected by class members, the distribution of materially misleading benefit

calculation statements and relative value notices, the failure to identify and correct

any errors in timely manner, the decision to pursue recoupment against

participants through self-help, affected all similarly situated Plan participants in

identical ways. The action is also maintainable as a class action under Rule

23(b)(3) because questions of law or fact common to class members predominate

over any questions affecting only individual members and a class action is
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superior to other available methods for fairly and efficiently adjudicating the

controversy.

                                       IV.
                         FIRST CLAIM FOR RELIEF
                    (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)

47.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

46 above as if fully set forth herein.

48.    Plaintiffs have used their pension benefits for living and other expenses and

therefore no longer have them—they are no longer in their possession or control.

49.    Plaintiffs relied on the accuracy of the documents they received concerning

their benefit options and selected the option that had the most value for them. The

documents’ material inaccuracy affected Plaintiffs’ choice of benefit options, the

timing of their retirement and/or the timing of when their benefits commenced.

Defendants actions have forced Plaintiffs to accept reduced retirement incomes for

the remainder of their lives.

50.    Plaintiffs have paid taxes on all of the plan payments. Because their

income since the benefit reductions is and will be lower than at the time the

miscalculated benefits were paid, and because Plaintiff’s marginal tax rate is now

lower than during the period of the alleged overpayments, Plaintiffs will pay more

income tax than they would have over otherwise paid over their lives and

additionally will lose the time value of the taxes paid prematurely. Plaintiffs are

being asked to repay the full amount of this overpayment, without credit for the

increased tax liability they are suffering because of Defendants’ errors.
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51.    Defendants furnished incorrect Relative Values Notices, the purpose of

which is to allow participants and their spouses to know which benefit options are

the most valuable to help guide their decision-making. Plaintiffs relied on the

Notices in electing to take the Leveling Option.

52.     Defendants are equitably and promissorily estopped from reducing the

amount which Defendants represented that Plaintiffs would be paid.

                        SECOND CLAIM FOR RELIEF
                    (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))

53.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

52 above as if fully set forth herein.

54.     ERISA § 206(d)(1), 29 U.S.C. § 1056(d)(1), titled “Assignment or

alienation of plan benefits,” provides that “Each pension plan shall provide that

benefits provided under the plan not be assigned or alienated.”

55.    Defendants’ recoupment of the alleged overpayment violates that section.

56.    To the extent that Defendants rely on 26 C.F.R. § 1.401-13(c)(2)(iii) to

countenance the recoupment, it is Plaintiffs’ position that the regulation is

inapplicable or, if applicable, is ultra vires.

57.    To the extent the Defendants rely on any provision of the Plan to

countenance recoupment, any such provision is either inapplicable or violates

ERISA § 206(d)(1).

58.    Even if the Plan is permitted to recoup overpayments, it must pursue

recoupment through litigation rather than via self-help and may not use the threat
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of benefit reduction to coerce participants to repay the plan with a lump sum

payment.

59.    Plaintiffs are entitled to a pension benefit calculated in accordance with the

Plan’s terms, without offset for past overpayments. (The Plan’s recourse would be

to seek judicial relief, not self-help.) Plaintiffs are entitled to be repaid any

amounts already paid to the plan or deducted by the Plan from future benefits,

with appropriate interest, as well as payment of the correct benefit prospectively.

                        THIRD CLAIM FOR RELIEF
                    (ERISA § 502(a)(2), 29 U.S.C, § 1132(a)(2)

60.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

59 above as if fully set forth herein.

61.    The Plan’s provisions set forth how a participant’s benefits are to be

calculated.

62.    ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D), require that fiduciaries

act “in accordance with the documents and instruments governing the plan” except

to the extent such documents are inconsistent with the statute.

63.    General Dynamics Corporation is the Plan Administrator, with the

responsibility to compute, certify and direct the Trustee with respect to the amount

and the kind of benefit to which a participant is entitled.

64. To the extent Plaintiffs have been overpaid, General Dynamics has breached

its fiduciary duty to pay them only the amount of benefits to which they were

entitled under the Plan.
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65. General Dynamics is liable to reimburse the Plan for the full amount of any

overpayment to Plaintiffs with appropriate interest.

                       FOURTH CLAIM FOR RELIEF
                   (ERISA § 408(b)(ii), 29 U.S.C. § 1106(b)(1))

66.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

65 above as if fully set forth herein.

67.    General Dynamics, as Plan Administrator, had at least three options for the

plan to recover any losses because of General Dynamics failure to pay the

Leveling Option at its correct level and its failure to discover the error for more

than a decade: it could make the plan whole by continuing to fund the benefit as

originally calculated or pay the Plan a lump sum payment for the Plans’ losses; it

could sue the record-keeper/actuary for the consequences of the miscalculation; or

it could seek recoupment from the innocent participants who relied on the

misrepresentations to their detriment. General Dynamics, as Plan Administrator

and the Plan’s Named Fiduciary, was required to make this determination subject

to ERISA’s fiduciary duties and the restraints of ERISA’s prohibited transaction

provisions.

68.    General Dynamics chose to recover the plan’s loss from the innocent

Plaintiffs rather than continuing to fund the plan to continue to pay benefits at the

level promised to Plaintiffs. In doing so, General Dynamics not only failed to

administer the plan solely in the interests of participants, but acted in General

Dynamics’ corporate interest, which was adverse to the interests of the plan and
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the interests of its participants. This constituted a prohibited transaction under

ERISA § 408(b)(ii), 29 U.S.C. § 1106(b)(1).

69.    General Dynamics should be ordered to fund the plan to pay the plan

benefits as described to Participants on their pension calculation statement.

                         FIFTH CLAIM FOR RELIEF
                    (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)

70.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

69 above as if fully set forth herein.

71.    Defendants, through the preparation and provision to Plaintiffs of the

Relative Values Notices and the Pension Calculation Statements, made false and

materially misleading representations of the benefits to which Plaintiffs were

entitled, on which Plaintiffs justifiably relied. These documents should have been

prepared and reviewed with the utmost regard for accuracy, since Defendants

should have expected that Plaintiffs would rely on these representations of the

amount and relative value of the different benefit options, since the statute

recognized that these documents were essential for Plaintiffs to make informed

choices as to when to retire, when to commence benefits, and what benefit option

to elect.

72.    Plaintiffs are entitled to plan reformation to conform the plan to the

misrepresentations made to them by Defendants, and surcharge and other

appropriate equitable relief.

                        SIXTH CLAIM FOR RELIEF
                   (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))
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73.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

72 above as if fully set forth herein.

74.    The Plan, and the General Dynamics Corporation as Plan Administrator,

were required to provide a Relative Values Notice and a Pension Calculation

Statement that were not materially misleading. Because the statements were

inaccurate as to only one of the benefit options, and because the Relative Values

Notice claimed that this benefit option was more valuable than the other available

forms of benefits, Participant Plaintiffs were deprived of the opportunity to make

an informed election of the form of benefit under the Plan, and when to retire and

when to commence benefits, and Spousal Participants were denied the opportunity

to knowingly consent to the form of benefit. The elections were thus ineffective.

75.    Defendant Plan has failed to provide Plaintiffs with the opportunity to make

an informed election of a benefit form and should be ordered to provide them the

opportunity to make such an election, with accurate information. Plaintiffs should

be paid such benefit as they select, plus interest on such benefit from the time of

their earlier defective election.

76.    General Dynamics, by denying Plaintiffs the opportunity to make an

informed election of a benefit form in 2009, breached its fiduciary obligations to

Plaintiffs and should be liable to them for surcharge and other equitable remedies,

including plan reformation.

                       SEVENTH CLAIM FOR RELIEF
                   (ERISA § 502(a)(3), 29 U.S.C. § 1132 (a)(3))
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77.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

76 above as if fully set forth herein.

78.    If Plaintiffs were overpaid and are required to reimburse the plan for all or

any part of that overpayment, any such overpayment was caused by the General

Dynamics’ breaches of fiduciary duty, including paying amounts from plan assets

in excess of the benefits payable under the Plan, the preparation and transmission

of misleading and inaccurate disclosures and forms provided to Plaintiffs about

the amount and relative value of those benefits, and the failure to identify and

correct the error for more than a decade.

79.     Plaintiffs are entitled to judgment surcharging General Dynamics in the

full amount that Plaintiffs have been and may in the future be required to repay

and other damages they suffered because of Defendant’s fiduciary breaches.

                      EIGHTH CLAIM FOR RELIEF
           (ERISA § 502(a)(2) and (3), 29 U.S.C. § 1132 (a)(2) and (3))

80.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

79 above as if fully set forth herein.

81.    Upon information and belief, General Dynamics contracted for the services

which Hewitt (now Alight) provided to the plan, including benefit calculations and

the preparation of the Pension Calculation Statements and Relative Values

Notices.

82.    Hewitt’s repeated negligent acts are a cause of any overpayments to

Plaintiffs as well as for Plaintiff’s inability to ascertain correct information as to
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the amount of their benefits. Therefore Hewitt, not Plaintiff, should be

responsible to reimburse the Plan for any overpayments.

83.    Upon information and belief, General Dynamics is in breach of its fiduciary

duties by failing to recover any overpayments from Hewitt/Alight.

                        NINTH CLAIM FOR RELIEF
                   (ERISA § 502(a)(3), 29 U.S.C. § 1132 (a)(3))

84.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

83 above as if fully set forth herein.

85.    When Hewitt prepared the benefit calculations, benefit calculations

statement, and Relative Values Statement, without review or at least meaningful

review from General Dynamics, Hewitt was exercising authority and control with

respect to management or disposition of plan assets and was thus a fiduciary under

ERISA § 1(21), 29 U.S.C. § 1002(21).

86.    Hewitt was also a fiduciary because it exercised control in the management

and/or administration of the Plan outside a framework of policies, interpretations,

rules, practices and procedures made by other persons. See 29 C.F.R. § 2509.75-

8m D-2(A).

87.    Hewitt’s miscalculations were grossly negligent and violated its duty to act

prudently under ERISA § 404(a), 29 U.S.C. § 1104(a).

88.    Plaintiff is entitled to judgment surcharging Hewitt/Alight for its various

violations of ERISA’s duty of prudence and making the Plan whole for losses

suffered by the Plan.
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                TENTH CLAIM FOR RELIEF
(ALTERNATIVE CLAIMS AGAINST HEWITT/ALIGHT FOR COMMON
                   LAW NEGLIGENCE)

89.    Plaintiffs repeat and reallege the matters set forth in Paragraphs 1 through

88 above as if fully set forth herein.

90.    Upon information and belief, at all times pertinent hereto, Plaintiff’s

pension benefits had been calculated by Hewitt.

91.    If Plaintiffs’ pension benefits have been overpaid, any such overpayments

would have been the result of, inter alia, Hewitt’s negligence.

92.    If Plaintiff’s benefits have been overpaid, any damage to the Plan caused by

such overpayments should be paid by Hewitt/Alight.

93.    Plaintiffs pursue this claim derivatively on behalf of the plan and on their

own behalf.

94.    Plaintiffs (and the Plan) are entitled to appropriate legal and equitable relief

from Hewitt/Alight for their losses, including, if appropriate, punitive damages.

                              PRAYER FOR RELIEF

       Plaintiff prays for judgment as follows:

1. Granting Plaintiffs pension benefits in the amount represented to them in the

Pension Calculation Statement for their joint lives and retroactive payment, with

interest, for benefits withheld beginning on July 1, 2019, and ordering either the

Plan or the fiduciary Defendants, jointly and severally, to pay those benefits with

appropriate interest;
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2. Ordering the fiduciary defendants either: (1) to reimburse the Plan in such sum

as will provide, on actuarial basis, an amount necessary to fund any benefit

payments to Plaintiff in excess of those permitted by the Plan’s benefit formula; or

(2) to reimburse the Plan in such sum as will provide, on an actuarial basis, an

amount necessary to fund the difference between benefit payments to Plaintiffs in

the amount provided by the Plan’s formula and the amount which Plaintiff would

be paid if recoupment were permitted;

3. Enjoining Defendants from reducing the pension benefits Defendants

represented that the Plaintiffs would receive;

4. Ordering surcharge against General Dynamics and Alight for the losses their

respective fiduciary breaches caused to Plaintiffs and/or the Plan;

5. Ordering Alight to pay appropriate damages for any state law violations;

6. Granting Plaintiffs’ their costs and attorney’s fees, including any expert or

consultant expenses; and

7. Granting such other and further relief as to this Court may seem just and

proper.

                                          Respectfully submitted,

Date: April 29, 2021                      s/ Amy R. Mason
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